1. The charge set out in division 1 of the opinion is not subject to criticism upon the ground that the court should have added thereto an instruction as to the weight to be given the statement of the accused, or that it *Page 419 
deprived the jury of the right to acquit because of good character if the other evidence proved guilt beyond a reasonable doubt, or that the jury might acquit if they entertained a reasonable doubt, either from a consideration of the evidence along with that of good character or the evidence together with the defendant's statement. It is a sound statement of the law on evidence of good character.
2. The evidence authorized the verdict of guilty.
                        No. 15166. JUNE 7, 1945.
Jim Walker was tried in the superior court of Early County on an indictment charging him with the murder of his wife, Emma Walker. He was convicted without recommendation and sentenced to be electrocuted. The present bill of exceptions excepts to the judgment overruling his amended motion for new trial.
The State's evidence shows that Sheriff C. E. Martin went to the home of the defendant in response to a summons in July, 1944, at about 1:30 or 2 a. m., and found the body of Emma Walker, the defendant's wife, lying on a mattress on the floor. There were several colored people present when the sheriff arrived. The deceased was lying on her back, and there was a wound back of her car in the back of her head. It was made by a rifle shot. She had a sheet over her body and a towel over her head. The sheriff saw no signs of a scuffle. There was blood on the back of her head and on the mattress. He did not see any blood elsewhere in the room. He arrested the defendant. The defendant told the sheriff that he shot his wife, scuffling over the gun, and he said the gun went off in the scuffle. The sheriff identified a single-shot rifle as being the gun with which the defendant said he killed his wife. The best the sheriff could tell, the body had not been moved after she had been shot. The sheriff gave it as his opinion that she had been shot where she was lying, basing this upon the fact that he saw no blood elsewhere in the room. The rifle identified by the sheriff was introduced in evidence.
W. A. Walker testified for the State that the defendant was working for him on a farm, and was living in a tenant house about 300 or 400 yards from the witness's home. Joe Willie Foster went to the witness's home and notified him of the killing. When the witness arrived at the defendant's house Emma Walker was still alive. She was lying still, but was breathing and groaning, *Page 420 
and there was considerable blood under her head on the mattress. He saw no other blood in the room. When this witness got there, the accused was coming down the road just a short distance from the house. The witness said something to the accused about his having gotten into trouble, and the accused replied, "yes," he had gotten into trouble. This witness went for the sheriff about fifteen or twenty minutes after looking at the wounded woman. The house in which the accused lived had two rooms, a bedroom and a kitchen.
Leslie Jackson testified that he had known the accused and his wife about six months, and that the accused killed his wife. He did not see him kill her, but the accused told him that he had killed her when the accused went up there about 11 or 12 o'clock and the witness had gone to bed. He had seen the defendant and his wife at church on the night of the killing. This witness and Emma Walker were ushers at the church that night. The accused stayed at the church until services were over, but the witness thinks that Emma Walker left before the services were concluded. He further testified: "Jim Walker told me he shot his wife and he didn't elaborate on anything further. He told me to come and go up the road and tell the folks that he had shot her, and said he was coming to Blakely and give up. He did not have the rifle at that time." This witness saw Emma Walker's body lying on a pallet and there was blood under her pillow. That was the only place that he saw any blood in the room. The dead woman did not have on any clothes except night clothes. She was lying on the pallet with a hole in her head. She was lying on her stomach. She was apparently dressed for bed. She did not have on her day clothes.
Joe Willie Foster, a witness for the State, testified that he was the first person there after the shooting, so far as he knew, and that he found Emma Walker lying on a pallet in the middle of the floor, and saw blood on the mattress where she was lying but did not see any blood elsewhere in the room. He saw the accused that night, but the accused did not mention to him anything about who killed his wife.
Ruby Walker testified that Jim Walker was her uncle. She was living with Jim Walker and his wife at the time the shooting took place. She had been there weeks. When the shooting took place she was standing in the kitchen door, having a drink of water. *Page 421 
She and Emma Walker and a friend of the witness whom she knew only as Rufus went home from church together. They left Jim Walker at the church. They had been home about ten or fifteen minutes when the defendant arrived. Her boy friend had gone home. During the ten or fifteen minutes between the time when the witness and Emma Walker arrived home and the accused came there, Emma Walker plaited her hair, undressed, put on her night clothes, a gown, a little short jacket in which she slept, and sat down on the porch. She was sitting there when the accused arrived. The witness then went on the porch. They were not quarreling. The accused told his wife that the preacher preached a good sermon, and the witness remarked that they were talking about the preacher and she was going to bed. She went in the house, and Emma Walker came in and got the gun and told the defendant that she was going to shoot him. They tussled over the gun. It fired, and Emma fell back on the pallet. The witness slept on the pallet and the deceased slept with her husband. There were two beds in the room. The pallet was in the middle of the floor. The witness did not know why Emma Walker wanted to shoot the accused. She did not know of anything that Emma Walker was mad with him about. She heard Emma Walker tell him something concerning her brother coming there Sunday, but did not know what it was. The deceased was in her night clothes when she fell on the floor. This witness had on an old dress, having pulled off her good clothes when her boy friend left. The witness told them that she was going to bed, but she was going up the road to see a friend after she got in the house. "When I told them I was going to bed, I was not telling the truth. I didn't always tell the truth, but I am telling you all the truth." The witness and the deceased left the church early. The deceased walked by herself, and the witness and her boy friend walked together. The boy friend stayed only ten or fifteen minutes. The deceased undressed after he left. This witness left when the shooting took place and went to Joe Willie Foster's house and told them about the shooting. She stayed there with Foster's daughter. She did not tell Foster that she and Emma Walker were lying on the pallet, and that if she had not moved the accused would have shot her. She went back later to where her aunt was lying. There were several people present when she arrived, and she does not remember *Page 422 
telling them that she and her aunt were on the bed and her uncle walked up there and shot her aunt, and that she had to run to keep him from shooting her. The gun was at the head of the bed. Her aunt grabbed it and they tussled over it. She did not try to stop them. Nothing was said except that the preacher preached a good sermon.
The defendant introduced two witnesses who testified to his good character. W. A. Walker, recalled for the State, testified that he had known the defendant for about a year, and that he had made a little investigation since the defendant got into trouble to see what kind of a negro he was. All he knew was only as to the six months the defendant was with him. He did not know whether or not the defendant and his wife were having any trouble. "Once or twice it has been mentioned about some other man. I didn't see anything, only negro talk, that is all."
Joe Willie Foster, recalled for the State, testified that he knew the defendant's niece, Ruby Walker. She came to his house on the night of the killing and said that her uncle Jim had killed her aunt Emma. The witness's wife said, maybe she was not dead, and Ruby said, "Yes, ma'm, she is." The witness's wife asked Ruby where Emma was when she was shot, and Ruby said she was in the house lying on a pallet. Ruby said that she ran and the bullet scraped her arm, and that, if she had not gotten out of the way, he would have shot her. She said that she was lying on the pallet beside Emma when the shooting took place.
Sheriff Martin, recalled, testified that to the best of his recollection the deceased had on her night clothes when he saw the body. The bullet lodged in her head. He examined the bullet wound, and from this examination it looked like the bullet went straight in. It lodged in her head, and did not go all the way through.
Leslie Jackson, recalled for the State, testified that he knew Ruby Walker, the niece of the defendant. On the night of the killing he and others were standing in the room where the body was lying, and Ruby Walker said that her uncle Jim had shot her aunt Emma, and that Emma was on the pallet when he shot her, and that both she and Emma were on the pallet when he shot her.
The defendant in his statement to the jury said: That on the fifth Sunday morning in August they went to church, and the *Page 423 
deceased said, "Go to my Daddy's and get my stocking this morning." He went to her Daddy's and got the stocking. He ate breakfast there and got home about 10 o'clock. His wife inquired why he stayed so long, and he replied that he went to her Daddy's and was in no hurry about getting back, and she responded, "No, you and Daddy been talking about me." She said that his wife Marie had been talking about her, and the defendant said, "Your Daddy has never told me anything about you." He gave her the stocking, and told her that he did not want any breakfast, and she asked him to walk up the road with her, and he told her that he was tired and hot. She jumped up and said "I am gone." The defendant said nothing. She went to Leslie Jackson's and got on the car and went with them and stayed to meeting that morning and came back just before dark. He was sitting on the porch and asked her how she enjoyed the meeting, and she said, "Fine." He told her that they had had company that day, and she asked who, and he said, "Your Daddy and brother been here today and spent the day." She asked what they were doing there. The defendant said that they came to see him, and that she did not stay at home for them to come to see her. She said she did not want them at her house. That Sunday evening they went to church. When the accused returned from church, he walked up to the porch and asked how she liked the sermon, stating that Reverend Jackson was a mighty fine man and preached a wonderful sermon. She went in the house and got the gun, and he was trying to take it away from her to save his life and the gun fired off. He further stated: "Of course, we had a little squabble that Saturday morning, but I had forgot all about it. I was not angry or mad at all. Coming on back that night, her and Ruby left the church and left me at the church. I was coming down the road with a bunch of men laughing and having fun. I went by home. She was sitting on the porch. I went up the road about five or ten minutes before I got to the house. Ruby went to the back door, and she went and got the gun. The gun was sitting at the head of the bed. I had my coat off, and when she got the gun, I laid my coat on the foot of the bed, and was trying to take the gun away from her and it fired."
1. On the subject of good character the court charged the jury as follows: "Where a defendant has been placed on trial, he has a right to put in issue his good character, and when he puts that character in issue, he has a right to have the jury to consider it. It is the duty of the jury to consider that testimony of good character along with all of the other evidence in the case. The fact that a man might have borne a good character, if the evidence shows his guilt beyond a reasonable doubt, then that fact would not warrant the jury's acquitting the defendant. Whereas, if the jury, taking that evidence of good character along with the other evidence in the case, and if there is any doubt in their mind as to the guilt or innocence of the defendant, then that good character alone would of itself give sufficient probative value as to generate in the minds of the jury a reasonable doubt and operate as an acquittal. That is a question for you to say and determine in considering the defendant's good character, but it is your duty nevertheless to consider the statement along with the other evidence, and if that generates in your minds a reasonable doubt of the guilt of the defendant it becomes your duty to give the defendant the benefit of that doubt and acquit the defendant." Four special grounds of the motion for new trial complain of excerpts from this portion of the charge, the substance of the criticisms being that the court failed to add in connection therewith a charge prescribing the weight to be given the defendant's statement; that the charge was misleading; that it caused the jury to believe that they would be authorized by proof of good character to entertain a doubt sufficient to acquit the accused only in the event that the other evidence was unsatisfactory; and that the charge was confusing in that in one instance it directed the jury to consider the proof of good character, together with the other evidence, in determining whether or not there existed a reasonable doubt, and in another instance it directed them to consider the defendant's statement along with the other evidence to determine if there existed a reasonable doubt; and that each of the excerpts excepted to is an unsound abstract principle of law.
A correct charge upon one principle of law is not rendered erroneous because of the failure to charge in immediate connection therewith some other correct principle of law. Therefore it was not incumbent upon the judge to add to the charge here involved an *Page 425 
instruction as to the weight to be given the defendant's statement. Elsewhere in the charge the court had fully instructed the jury concerning the weight to be given the statement of the accused. See Roberts v. State, 123 Ga. 146 (8) (51 S.E. 374); McCrary v. State, 141 Ga. 4 (80 S.E. 305); Morris
v. State, 177 Ga. 365 (3) (170 S.E. 217). The movant, relying upon Shropshire v. State, 81 Ga. 589 (8 S.E. 450), strongly insists that the charge complained of is erroneous in that it instructed the jury that, if the other evidence proved the defendant guilty beyond a reasonable doubt, then proof of good character would not authorize an acquittal. The case relied upon involved a charge which thus restricted the consideration of the evidence of good character, and it was held to be error. The charge there instructed the jury that, in the event they were doubtful of the defendants' guilt they might take into consideration their character; but, that, on the other hand, if the jury believed that the case had been made out and that the defendants committed the crime, it made no difference what their characters were and it was the duty of the jury to convict. The charge here does not contain the error pointed out in theShropshire case. This charge instructed the jury that the accused had the right to have the jury consider the evidence of his good character, and that it was the duty of the jury to consider that evidence along with the other evidence in the case. It thus identified the proof of good character as "evidence." This having been done, the charge then correctly stated that, if the "evidence" showed the defendant's guilt beyond a reasonable doubt, then the fact that the accused might have borne good character would not authorize the jury to acquit him. What was meant by "evidence" had been clearly explained to the jury, and they could not have understood that the evidence relating to good character was not involved in that instruction. Thus it is clear that the court's instruction was that, if the evidence, which included proof of good character, showed guilt beyond a reasonable doubt, then the jury should convict, and that the fact that the accused bore a good character would not authorize an acquittal. The charge simply means that good character under our law is not is not a license for committing crime. This is a correct statement of the law. Proof of good character as evidence may generate a doubt as to the defendant's guilt, but when such evidence, considered as it must be along with the other evidence *Page 426 
in the case, fails to generate a doubt of guilt, then it will not authorize an acquittal. Hathcock v. State, 88 Ga. 91
(13 S.E. 959); Brazil v. State, 117 Ga. 32 (3) (43 S.E. 460);Henderson v. State, 120 Ga. 504 (48 S.E. 167); Jeffers
v. State, 145 Ga. 74 (2) (88 S.E. 571); Williams v.State, 170 Ga. 886, 891 (154 S.E. 363). Nor is this charge subject to the criticism that in one portion it directs the jury to consider the evidence of good character along with the other evidence in the case, and if there is generated a reasonable doubt in the minds of the jury, they should acquit; and thereafter it instructs the jury that it is their duty to consider the defendant's statement along with the other evidence, and of this generates a reasonable doubt in the minds of the jury, they should give the defendant the benefit of the doubt and acquit him. This portion of the charge is neither confusing nor incorrect. It is not subject to this criticism. Nor is the charge subject to any of the criticisms made under the special grounds of the motion for new trial.
2. There is evidence in this record showing that the accused stated that he killed Emma Walker, without further explanation. There is also evidence, together with his statement, showing that she was killed with a rifle belonging to the accused at a time when he said they were scuffling. The sheriff testified that the accused told him that the deceased was trying to take a rifle from the defendant. Other witnesses testified that he told them that he was trying to take the rifle from her. The circumstances surrounding the killing, together with this evidence, authorized the verdict of guilty, and the general grounds of the motion for new trial are without merit.
Judgment affirmed. Bell, C. J., Jenkins, P. J., Atkinson andWyatt, JJ., concur.